                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DMSION
                                   No. 4:12-CR-86-D-3


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
                    v.                           )               ORDER
                                                 )
ISMAEL PARRILLA,                                 )
                                                 )
                            Defendant.           )


        On September 28, 2020, Ismael Pmilla(''Parrilla" or "defendant'') moved for compassionate

release under the First Step Act ("First Step Act"), Pub. L. No. 115-391, § 603(b), 132 Stat. 5194,

5238-41 (2018)(codifiedasam.endedat 18U.S.C. § 3582) [D.E.172]. OnSeptember29,2020, the

court appointed the Office of the Federaf Public Defender to represent Parrilla [D.E. 173]. On

October 30, 2020, Parrilla's counsel filed a memorandum. in support [D.E. 176]. As explained

below, the court denies Parrilla's motion.

                                                     I.

        On October 26, 2012, pursuant to a written plea agreement, Parrilla pleaded guilty to

conspiracy to distribute and possession with intent to distribute 500 grams or more of a mixture or

substance containing a detectable amount ofmethamphetam.ine. See [D.E. 73, 74]. On June 10,

2013, the court held a sentencing hearing and adopted the facts set forth in the Presentence

Investigation Report ("PSR"). See [D.E. 114, 130, 141]; Fed. R. Crim. P. 32(i)(3){A}-(B). The

court calculated Parrilla' s total offense level to be 38, his criminal history category to be III, and his

advisory guideline range to be 292 to 365 months' imprisonment. See [D.E. 141]. After granting

the government's motion for downward departure and thoroughly considering all relevant factors



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under 18 U.S.C. § 3553(a), the court sentenced Parrilla to 180 months' imprisonment. See [D.E.

140] 2; [D.E. 141] 2. Parrilla did not appeal.

       On December 30, 2015, Parrilla moved for a sentence reduction under 18 U.S.C. §

3582(c)(2), U.S.S.G. § lBl.10, and Amendment 782. See [D.E. 157]. On July 30, 2018, after

reviewing the entire record, all relevant policy statements, and the relevant factors under 18 U.S.C.

§ 3553(a), the court denied Parrilla's motion. See [D.E. 168] 2-3. Parrilla did not appeal.

       On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file a

motion for compassionate release. Under the First Step Act, a sentencing court may modify a

sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

defendant after the defendant has fully exhausted all adrnini~tive rights to appeal a failure of the

[BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

arequestbythewardenofthedefendant'sfacility, whichever is earlier." 18 U.S.C. § 3582(c)(l)(A).

       After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

under section 3582(c)(1 )(A), a court must consult the sentencing factors in 18 U.S.C. § 3553(a) and

must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

States Sentencing Commission (the ·"Commission"). Id.

       The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

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application notes provide examples of extraordinary and compelling reasons, including: {A) serious

medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. See U.S.S.G. § lB 1.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                       (ii) The defendant is-

                             (1) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment,
                                  or

                             (Ill) experiencing deteriorating physical or mental health because
                                   of the aging process,

                            that substantially diminishes the ability of the defendant to
                            provide self-care within the environment of a correctional facility
                            and from which he or she is not expected to recover.

                 (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)
                      is experiencing a serious deterioration in physical or mental health
                      because ofthe aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.


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 that "an extraordinary and compelling reason need not have been unforeseen at the time of

 sentencingtowarrantareductioninthetermofimprisonment." U.S.S.G. § 1B1.13 cmt.n.2. Thus,

the fact "that an extraordinary and compelling reason reasonably could have been known or

anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the

 defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy

 statement." U.S.S.G. § 1B1.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § 1B1.13 to account for the First Step Act. Accordingly, section lBl.13 does not

provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

 3S82(c)(l)(A).     See. ~ United States v. McCoy, 981 F.3d 271, 28~4 (4th Cir. 2020).

Nevertheless, section 1B1.13 provides informative policy when assessing an inmate's motion, but

a court independently determines whether "extraordinary and compelling reasons" warrant a sentence

reduction under 18 U.S.C. § 3S82(c)(l)(A)(i). See id at 284. In doing so, the court consults not




                  (C) Family Circumstances.-

                      (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                          child or minor children.                  ,

                      (ii) The incapacitation of the defendant's spouse or registered partner
                           when the defendant would be the only available caregiver for the
                           spouse or registered partner.

                  (D) Other Reasons.--As determined by the Director of the Bureau of
                      Prisons, there exists in the defendant's case an extraordinary and
                      compelling reason other than, or in combination with, the reasons
                      described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13 cmt. n.1.

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only U.S.S.G. § lBl.13, but also the text of 18 U.S.C. § 3582(c)(l)(A) and the section 3SS3(a)

factors. See, e.g., id. at 280-84; United States v. Jones, 980 F.3d 1098, 1101-03 (6th Cir. 2020);

United States v. Gunn, 980 F.3d 1178, 1180-81 (7th Cir. 2020); United States v. R ~ 978 F.3d

1000, 1007-08 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237-38 (2d Cir. 2020);

United States v. Clark, No. 1:09cr336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 15, 2020)

(unpublished).

       As for Parilla' s request for compassionate release, Parrilla contends that he has exhausted

hii;: admjnjstrative requirements. On June 7, 2020, Parrilla submitted a request for compassionate

releasetotheBOP. See[D.E.172]2; [D.E.172-2] 1; [D.E.176] 17. Asofthedateoffllingon

September 28, 2020, over thirty days have elapsed and Parrilla alleges that the BOP has not

responded to his request See [D.E. 172] 2; [D.E. 176] 17. Moreover, the government has not

invoked section 3582's exhaustion requirement. See United States v. Alim!, 960 F.3d 831, 833-34

(6th Cir. 2020).2 Accordingly, the court addresses Parrilla's claims on the merits.

       Parrilla seeks compassionate release pursuant to section 3582(c)(l)(A). In support of his

request, Parrilla cites the COVID-19 pandemic and his health conditions, including asthma, obesity,

high blood pressure, high cholesterol, and a heart murmur, as well as the fact that he is a former

smoker. See [D.E. 172] 6--23; [D.E. 176] 1-2. Parrilla also cites his rehabilitation efforts, release

plan, the conditions at FCI Lompoc, that he survived having COVID-19, and how much time he has

served. See [D.E. 176] 2-19.




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          The Fourth Circuit has not addressed whether section 3582's exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule, and that the government must ''properly invoke" the rule
for this court to enforce it. See Alam, 960 F .3d at 833-34.

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        As for the medical condition ofthe defendant policy statement, the policy statement requires

that the defendant is "suffering from a serious physical or medical condition ... from which he or

she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). AlthoughParrillastatesthathe

has asthma, obesity, high blood pressure, high cholesterol, and a heart murmur, he has not

demonstrated that he is not going to recover from these conditions or that they cannot be treated

while Parrilla serves his sentence. Accordingly, reducing Parrilla's sentence is not consistent with

application note l(A). See 18 U.S.C. § 3582(c)(l)(A).

       As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic, Parrilla's health conditions, rehabilitation efforts, and release plan are

extraordinary and compelling reasons under section 3582(c)(l)(A). Cf. United States v. Rai~ 954

F.3d 594, 597 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that

it may spread to a particular prison alone cannot independently justify compassionate release,

especially considering BOP's statutory role, and its extensive and professional efforts to curtail the

virus's spread.''). Even so, the section 3553(a) factors counsel against reducing Parrilla's sentence.

See United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020 WL 1874140,

at *3-8.

       Parrilla is 38 years old and engaged in very serious criminal behavior between December

2011 and June 22, 2012. See PSR [D.E. 114] ft 4-7. Parrilla' s offense conduct included conspiring

with others to ship 4.151 kilograms of actual methamphetamine from California to North Carolina

for distribution. See id. Parilla was a manager or supervisor ofthe conspiracy. See id. Parrilla also

is a violent recidivist with a deplorable criminal record that includes convictions for intimidation of

a victim and/or witness, sex with a minor, and lewd/lascivious acts with a child. See id. ft 10-12.

Nonetheless, Parrilla has taken some positive steps while incarcerated. See [D.E. 172-4]; [D.E. 176]

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2-3. The court also has considered Parrilla's recovery from COVID-19, potential continued

exposure to COVID-19, his health conditions, his rehabilitation efforts, and his release plan. Cf.

Pe,pper v. United States, 562 U.S. 476, 480-81 (2011). Having considered the entire record, the

steps that the BOP has taken to address COVID-19 and treat Parrilla, the section 3553(a) factors,

Parrilla's arguments, and the need to punish Parrilla for his crlrninal behavior, to incapacitate

Parrilla, to promote respect for the law, to deter others, and to protect society, the court declines to

grant Parrilla's motion for compassionate release. See, e.&, Chavez-Me:z.a v. United States, 138 S.

Ct. 1959, 1966--68 (2018); Ruffin, 978 F.3d at lO0S-:-09; Chambliss, 948 F.3d at 693-94; United

Statesv.Hill,No.4:13-CR-28-BR,2020WL 205515,at*2(E.D.N.C.Jan.13,2020)(unpublished).

                                                  JI.

       In sum, the court DENIES Parrilla's motion for compassionate release [D.E. 172].

       SO ORDERED. This~ day of January 2021.




                                                            JSC.DEVERill
                                                            United States District Judge




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